         Case 2:19-cr-00111-WFN           ECF No. 759        filed 09/23/20     PageID.4577 Page 1 of 2
O PS 8
(3/15)


                              UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                                                     U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON
                                                           for
                                           Eastern District of Washington                       Sep 23, 2020
                                                                                                    SEAN F. MCAVOY, CLERK



U.S.A. vs.                    Caballero, Leonel                        Docket No.        0980 2:19CR00111-WFN-11


                              Petition for No Action on Conditions of Pretrial Release

        COMES NOW Jose Zepeda, SUPERVISORY PRETRIAL SERVICES OFFICER presenting an official report upon
the conduct of defendant Leonel Caballero, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rodgers, sitting in the court at Spokane, Washington, on the 18th day of July 2019, under the
following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: Leonel Caballero is alleged to have ingested methamphetamine on or about September 10, 2020.

On July 22, 2019, the pretrial release conditions were reviewed and signed by Mr. Caballero acknowledging an
understanding of standard condition number 9, as outlined above.

On September 15, 2020, Mr. Caballero reported to Social Treatment Opportunity Programs (STOP) for a random drug
screen. During this visit, Mr. Caballero admitted to a counselor he ingested a controlled substance, specifically
methamphetamine. On this date, Mr. Caballero signed the admission/denial drug use form admitting to having used this
substance on or about September 10, 2020.

                    PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                     I declare under the penalty of perjury that
                                                                     the foregoing is true and correct.
                                                                     Executed on:           September 22, 2020
                                                              by     s/Jose Zepeda
                                                                     Jose Zepeda
                                                                     Supervisory U.S. Pretrial Services Officer
        Case 2:19-cr-00111-WFN          ECF No. 759       filed 09/23/20    PageID.4578 Page 2 of 2
PS-8
Re: Caballero, Leonel
September 22, 2020
Page 2

 THE COURT ORDERS

 [X ]    No Action
 [ ]     The Issuance of a Warrant
 [ ]     The Issuance of a Summons
 [ ]     The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
 [ ]     Defendant to appear before the Judge assigned to the
        case.
 [ ]     Defendant to appear before the Magistrate Judge.
 [ ]     Other


                                                                     Signature of Judicial Officer

                                                                           September 23, 2020
                                                                     Date
